                              Case 1:18-cv-11068-JPC Document 42
                                                              41 Filed 01/11/21
                                                                       01/07/21 Page 1 of 1

                                     Michael Faillace & Associates, P.C.
                                                          Employment and Litigation Attorneys

                60 E. 42nd Street, Suite 4510                                                             Telephone: (212) 317-1200
                New York, New York 10165                                                                   Facsimile: (212) 317-1620
                _________
                gnaydenskiy@faillacelaw.com

                                                                                        January 7, 2021

                Via Electronic Filing
                The Honorable Judge John P. Cronan
                U.S. District Court Southern District of New York
                500 Pearl St
                New York, NY 10007


                                    Re:      Tenesaca et al v. Manu Inc. et al
                                             Index No. 18-cv-11068-ER JPC


                Dear Honorable Judge Cronan:

                           We represent Plaintiffs in the above-referenced matter. We respectfully request an
                extension of time to complete depositions within 30 days after mediation. On January 4, 2020 Your
                Honor referred the case to mediation1. Thus, in an effort to save resources, the parties respectfully
                request the deadline to complete depositions be extended to 30 days after mediation. Accordingly,
                the parties also respectfully request the March 24, 2021 status conference be adjourned.


The parties' request is GRANTED in part and DENIED in part.
                                                                      Respectfully Submitted,
The Case Management Conference scheduled for March 24,
2021, at 11:00 a.m. is hereby adjourned sine die.                      s/ Gennadiy Naydenskiy
                                                                       Gennadiy Naydenskiy
The parties' deadline for non-expert depositions is hereby             60 East 42nd Street, Suite 4510
extended to February 22, 2021.
                                                                       New York, New York 10165
The parties are further ORDERED to file a joint status letter          Email: Gnaydenskiy@faillacelaw.com
within two weeks after mediation.                                      Attorneys for Plaintiffs

SO ORDERED.
Date: January 7, 2021
                               ___________________________
New York, New York             JOHN P. CRONAN
                               United States District Judge



                1
                    this would be the parties second mediation


                                            Certified as a minority-owned business in the State of New York
